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Case 4:10-cv-00342 Document 1-3 Filed on 02/04/10 in TXSD Page 1 of 4

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MYI NMcLarens Young 10235 W. Little York Street Suite 170
International Houston, TX 77040-3253
GLOBAL CLAIMS SERVICES Tel 713 856-9227

Fax 713 856-9228

May 5, 2009

Mr. Maury DeBont

Mr. Joe Risse

Mr. Mike Moreno

Sempra Energy

101 Ash Street

San Diego, California 92101

Mr. Scott Ray

Mr. Gil Madrid

Aker Kvaerner/lHI

Cameron LNG Receiving Terminal
Cameron Parish, Louisiana

Re: Insured: Sempra Energy and other Named Insureds

Policy Nos.: National Union Fire Ins. Co. of Louisiana— ST-260-9712
AEGIS Ins. Services, Ltd - L0022B1A05
Allianz Global Risks US Ins. Co. - ATO 3006580
Commonwealth Ins. Co. — NME1128
Navigators Special Risk, Inc. - 05-NSRO-1045-01
Arch Specialty Ins. Co. - CAR0009987-00

Policy Period: 9/15/2005 — 12/16/2008

Loss: Hurricane !ke- CAT#60

Loss Location: Hackberry, LA

Date of Loss: 09/13/2008

MYI File No. 07.003119.MI
Gentlemen:

Further to our recent correspondence, this letter is written on behalf of the above Insurers in
order to update you regarding the current coverage position of the Insurers in this matter in
connection with the below identified coverage issues. We issue this letter in an effort to keep
you informed on the Insurers’ ongoing analysis of these issues, and it is subject to the

EXHIBIT

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Case 4:10-cv-00342 Document 1-3 Filed on 02/04/10 in TXSD Page 2 of 4
Insured: Sempra Eneray Page No. 2 MYI File No. 07.003119.MI

reservation of rights set forth herein and in all previously issued reservations of rights which
have been provided to you.

|. Insurers’ Coverage Position

The Insurers have determined that Hurricane Ike’s storm surge flooded the Project Site and off-
site storage facility, resulting in certain physical damage caused by exposure to saltwater and
debris. Specifically, physical damage occurred to limited materials and equipment already
permanently incorporated into the Project, and to other materials and equipment intended for
use in the Project, including certain valves, pumps and pipes, which were located at the Project
Site but not yet installed. These parts and materials were staged in several areas near their
intended positions in the Project. Damage was also sustained to certain other parts and
equipment temporarily stored in an off-site pre-staging area approximately 1.5 miles away at a
rented storage facility. The Insurers also understand that the claim includes re-dredging of the
Project's two ship berths which you contend was necessitated by debris and/or silt deposited by
the storm surge. In addition to the direct physical damage to property, the Insurers understand
that portions of the claim include increased craft labor and other cost increases and “additional
costs caused by the encumbrance of the Project's construction schedule due to the additional
work.”

Based on this understanding, the Insurers have determined that the direct physical damage to
property insured caused by the landfall and associated storm surge of Hurricane Ike constitute
an “occurrence” under the Policy because Hurricane Ike was a covered Named Windstorm that
caused direct physical loss, damage or destruction to property insured.- As a result, the insurers
have presently determined that direct physical damage to property consisting of pipes, valves,
motors and other similar parts, equipment and materials, as defined by the Policy, is covered
under the Policy, subject to the application of applicable deductibles, sublimits and quantum
verification? in addition, the Insurers have presently determined that other damage which was
specifically contemplated by the Policy and added as individual extensions to the coverage
provided, including Debris Removal and Associated Costs, Professional Fees (except fees
incurred preparing the claim), Expediting Expenses and Airfreight, and Additional Import and
Customs Duties which are caused directly by Hurricane Ike and the associated storm surge may
also be covered losses, subject to applicable deductibles, sublimits and quantum verification.
With regard to these claimed items, the Insurers invite you to provide all supporting
documentation, invoices, bills and accounts, as required by the Policy, evidencing your claim for
each of the above categories of damages.

With respect to the costs claimed for re-dredging the ship berths, the Insurers have presently
determined that such costs that are directly attributable to Hurricane Ike’s landfall and storm
surge may fall within the exception to Exclusion 12.b. of the Policy, because such costs would
be “accompanied by Damage caused by an indemnifiable occurrence otherwise covered by this
Policy.” The key issue here in the view of the Insurers is your ability to demonstrate through

 

' See March 5, 2009, Change Order No. CO09-262, Summary of Loss, Executive Summary, Item 1.6.
* The calculation of the deductible for the loss is the subject of prior correspondence, to which we
currently await a response and/or agreement on the amount of same.
 

! Case 4:10-cv-00342 Document 1-3 Filed on 02/04/10 in TXSD Page 3 of 4
Insured: Sempra Energy Page No. 3 MY File No. 07.003119.Mi

available information and documentation that the silting which necessitated the re-dredging was
caused directly by Hurricane Ike and not as a result of prior unrelated events, including
Hurricane Rita, the Mississippi River flood and/or Hurricane Gustav. Additionally, the Insurers
note that the original construction schedule for the Project contemplated maintenance dredging
in months 37 and 38 of the Project schedule, and the Insurers request specific confirmation from
you that the claimed costs for re-dredging are outside of and in addition to the scheduled
maintenance dredging.

The Insurers have also determined that the Policy provides no coverage for claims arising from
the delay in completion of the Project or the delay in the facility’s startup. As you are aware, the
Policy contains no delay in completion endorsement, and therefore will not respond to these
types of consequential claims. In addition, these portions of the claim would constitute
consequential losses as contemplated by Exclusion 4 of the Policy and are thus expressly
excluded from coverage. Further, any other consequential losses, including but not limited to,
equipment lease extensions and/or attorneys’ fees incurred in extending any lease, are also
expressly excluded. In addition, any portion of the claim which includes a “contingency” is not
covered by the Policy.

If you disagree with the coverage positions set forth herein, the Insurers invite you to outline
your position in writing and to provide all information/documentation in support of your position,
and it will be given due consideration.

ll. Request for Payment on Account

In reference to Aker’s March 25, 2009, letter requesting an interim payment in the amount of $4
million, the Insurers have requested that we refer you to the Policy’s General Conditions
Section, No. 7. Payments on Account, which provides that any payment on account is “subject
to liability having been accepted and application of the applicable Deductible...” As previously
advised, we are not presently in a position to recommend a payment on account to Insurers until
such time as the applicable Deductibie amount has been agreed. Once the Deductible amount
is agreed, we will then be able to determine whether the amount of the covered claim that has
been established by supporting documentation (i.e. vouchers, invoices, man-hour reports, etc. --
as opposed to estimates) exceeds the Deductible in an amount sufficient to warrant an interim
payment at this time. In this regard, please provide all additional supporting documentation
requested in my letter of April 20, 2009, my email of April 24, 2009 and Jay Cardarette’s email
of April 24, 2009, as soon as possible’.

In an effort to resolve this issue, we propose scheduling a meeting at a time and place that is
convenient for you. We can presently be available on May 12 and 13 for such a meeting. We
look forward to hearing from you on this.

 

? We acknowledge receipt of some portion of the requested information on May 4, 2009, which is
presently under review.
 

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insured: Sempra Energy Page No. 4 MY! File No. 07.003119.MI

Neither this correspondence nor the ongoing investigation and adjustment of the claim
presented waives any rights of the Insurers under the Policies, at law, in equity, or otherwise, all
such rights continuing to be expressly reserved.

Very truly yours,
MCLARENS YOUNG INTERNATIONAL

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Executive General Adjuster

Vice President/Branch Manager
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